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             IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MINNESOTA



SMARTMATIC USA CORP.,
SMARTMATIC INTERNATIONAL
HOLDING B.V., and SGO
CORPORATION LIMITED,

                      Plaintiffs,
                v.                   Case No. 22-cv-0098-JMB-JFD
MICHAEL J. LINDELL and MY
PILLOW, INC.,

                      Defendants.


 SMARTMATIC’S MEMORANDUM OF LAW IN SUPPORT OF ITS THIRD
                  MOTION TO COMPEL
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                                    INTRODUCTION

       Defendants Michael J. Lindell and My Pillow, Inc. (“MyPillow”) began their

defamation campaign against Smartmatic over three years ago, resulting in Smartmatic

filing this lawsuit on January 18, 2022. Fact discovery has now been ongoing for over

twenty months and is scheduled to close today. Despite the length of time that has elapsed,

Defendants continue to improperly withhold information related to Smartmatic’s claims

that Defendants’ statements are false and defamatory. Indeed, Defendants refuse to

disclose basic information concerning the financing of their defamation campaign,

including MyPillow’s involvement, as well as information about the sources Defendants

relied upon in crafting the defamatory statements. Moreover, Defendants have completely

failed to respond to a set of discovery requests served in September 2023. All information

sought is relevant to Smartmatic’s allegations that Defendants acted with actual malice

when they defamed (and continue to defame) Smartmatic and that punitive damages are

necessary. Accordingly, the Court should enter another order compelling Defendants to

comply with their discovery obligations.

                  FACTUAL AND PROCEDURAL BACKGROUND

I.     Smartmatic Sued Defendants for Falsely Accusing It Of Rigging The 2020 U.S.
       Presidential Election.

       Since the 2020 election, and now almost four years later, Defendants continue to

spread the lie that Smartmatic played a key role in a grand conspiracy to “steal” the election

from President Trump and elect President Biden. (See ECF No. 125, Supp’l Compl. ¶¶ 75–

83.) For instance, Defendants told the public and MyPillow customers that Smartmatic was



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the “mothership” of a grand conspiracy among voting machine companies, the U.S. and

state governments, and foreign actors to “steal” the election. (Id. ¶ 151.)

         Smartmatic has alleged that Defendants’ disinformation campaign was a thinly

veiled attempt to curry favor with President Trump and to sell MyPillow products to his

loyal followers. Specifically, Smartmatic alleges that Lindell defamed Smartmatic “for the

noble purpose of selling his pillows,” and this is implicit because he routinely promoted

MyPillow and its products when he defamed Smartmatic and spread his lies about the

legitimacy of the 2020 election. (Id. ¶ 7, 19, 134, 339, 344, 346.) He even frequently paired

his defamatory statements about Smartmatic with “promo codes” encouraging the audience

to make a purchase from MyPillow and receive a discount. (Id. ¶¶ 338–41.) Defendants

strategically used “promo codes” that will appeal to President Trump’s supporters, such as

“FightforTrump” and “Proof.” (Id. ¶ 19.)

II.      Defendants Failed to Satisfy Their Discovery Obligations.

         Based on Defendants’ ongoing mission to destroy Smartmatic’s reputation and

remove all voting machines from future elections,1 it is unsurprising that they refuse to

comply with basic discovery requests served by Smartmatic in this case. Indeed, there are

deficiencies lingering from Smartmatic’s first set of discovery requests served on October

17, 2022—one week after fact discovery began.




1
 In his deposition, Mr. Lindell said, “I was all about getting rid of electronic voting machines and going to paper
ballots and counting. That was my whole focus 18 hours a day for the next three years.” (Declaration of Julie M.
Loftus (“Loftus Decl.”) Ex. T, Transcript of Deposition of Michael J. Lindell, at 74:18–21.)


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       Specifically, Smartmatic is seeking to compel responses to the following discovery

requests:

        Interrogatory Nos. 4, 14 (First Set of Interrogatories to Defendants) (Loftus
         Decl. Ex. A.)

        Interrogatory Nos. 20, and 23 (Second Set of Interrogatories to MyPillow)
         (Loftus Decl. Ex. B.)

        Request for Production (“RFP”) No. 26 (Second Set of Requests for Production
         to MyPillow) (Loftus Decl. Ex. C.)

       Smartmatic had discussed each of these deficiencies with Defendants’ previous

counsel by the fall of 2023. However, Smartmatic wanted to give Defendants’ a chance to

correct these deficiencies via their new counsel. Even before this Court re-opened

discovery in April, Smartmatic attempted to resolve discovery disputes with Defendants

amicably. On December 19, 2023—four days after Defendants’ new representation

appeared in this action—Smartmatic sent Defendants’ new counsel a comprehensive letter

detailing outstanding discovery and identified deficiencies. (Loftus Decl. Ex. D, December

19, 2023 Letter from M. Bloom to C. Kachouroff.) Smartmatic’s December 19, 2023 letter

included discussion of Defendants’ responses to date of Interrogatory Nos. 4, 14, 20, and

23. The parties met and conferred on January 4, 2024 to discuss the deficiencies raised

therein. (See Loftus Decl. Ex. E, email from J. Loftus to C. Kachouroff.) The parties again

discussed the December 19 letter on January 18, 2024. (See Loftus Decl. Ex. F, email from

J. Loftus to C. Kachouroff.)

       On April 15, 2024, Smartmatic and Defendants met and conferred on case

scheduling. Smartmatic again mentioned the discovery concerns it had previously



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identified in December 2023 and January 2024. (Loftus Decl. Ex. G, April 17, 2024 email

from J. Loftus to C. Kachouroff.) Smartmatic did not hear back in response and followed

up again on April 24, 2024. (Loftus Decl. Ex. H, April 24, 2024 email from J. Loftus to C.

Kachouroff.)

      Smartmatic reached out once again on May 7, 2024 to identify gaps in Defendants’

production, including documents responsive to RFP No. 26 from 2021 through the present.

(Loftus Decl. Ex. I, May 7, 2024 email from J. Loftus to C. Kachouroff.) The parties met

and conferred on May 13, 2024 to discuss Defendants’ productions. (Loftus Decl. ¶ 12.)

Defendants stated that they would investigate these deficiencies. (Id.) On May 20, 2024,

Defendants served updated responses to several of Smartmatic’s discovery requests,

including Interrogatory Nos. 4, 14, 20, and 23. The parties met and conferred regarding

these responses on June 3, 2024. Smartmatic reminded Defendants of its prior deficiency

communications and forwarded that correspondence to Defendants’ counsel during the

call. (Loftus Decl. Ex. J.) Defendants stood on their objections to Smartmatic’s

interrogatories and did not produce updated documents responsive to RFP No. 26. On July

3, 2024, Smartmatic sent a final message informing Defendants that they had reached an

impasse and would be seeking relief from the Court.

      Nothing is more representative of Defendants’ unwillingness to participate in

discovery than their complete failure to respond to four sets of discovery requests

Smartmatic served almost ten months ago. On September 20, 2023, Smartmatic served the

following sets of discovery requests on Defendants:




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         Fifth Set of Requests for Production (Declaration of Julie M. Loftus in Support
          of Smartmatic’s Motion to Compel (“Loftus Decl.”) Ex. K);

         Fourth Set of Interrogatories (Id. Ex. L);

         First Set of Requests for Admission (Id. Ex. M); and

         Second Set of Requests for Admission (Id. Ex. N).

        Pursuant to Federal Rules of Civil Procedure 33(b)(2), 34(b)(2)(A), and 36(a)(3),

Defendants’ responses to these Requests were due on Friday, October 20, 2023. However,

on October 5, 2023, Defendants’ then-counsel moved to withdraw, citing Defendants’

failure to pay for their lawyers’ fees. (ECF No. 225.) On October 16, 2023, this Court

granted former counsel’s motion and simultaneously stayed discovery until “at least

Monday, November 13 [2023].” (ECF No. 238; id. at 7–8.) On April 15, 2024, this Court

entered a new scheduling order and reopened discovery. (ECF No. 266, at 56–59.)

Accordingly, Smartmatic contacted Defendants’ counsel on May 7, 2024 to remind them

of the discovery requests served September 20, 2023, sending copies of the outstanding

requests as a courtesy. (Loftus Decl. Ex. I.) On June 3, 2024, Smartmatic again inquired

about Defendants’ responses to the requests served on September 20, 2023. (Id. ¶ 14.)

Defendants’ counsel requested that Smartmatic’s counsel once again send the requests via

email. (Id.) Smartmatic obliged. (Id. Ex. J.) To date, Defendants have not responded to

Smartmatic’s September 20, 2023 discovery requests in any fashion.2




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 Defendants’ counsel has indicated that he may still respond to these requests but has not had time to do so. While
Smartmatic’s counsel has attempted to allow new counsel time to familiarize himself with the facts and the
documents, Smartmatic cannot wait indefinitely for responses to requests it issued nearly ten months ago.


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                                  LEGAL STANDARD

       The Federal Rules of Civil Procedure permit liberal discovery regarding “any

nonprivileged matter that is relevant to any party’s claim or defense and proportional to the

needs of the case.” Fed. R. Civ. P. 26(b)(1). “The party that seeks discovery has the burden

of making a threshold showing that the information sought is relevant to the claims or

defenses in the case.” Beyond Blond Prods., LLC v. Hall, No. 22-MC-0037 (JFD), 2022

WL 3444039, at *2 (D. Minn. Aug. 17, 2022) (Docherty, J.) (citation omitted). Then, “the

party resisting production bears the burden of establishing lack of relevancy or undue

burden.” Id. (citation omitted). In other words, “once a threshold showing of relevance has

been made by the requesting party, the burden of demonstrating why information need not

be provided—and thus, why a court should deny a motion to compel—is on the party

resisting disclosure.” Bepex Int’l, LLC v. Hosokawa Micron BV, No. 19-CV-2997

(KMM/JFD), 2022 WL 3701406, at *3 (D. Minn. Feb. 8, 2022) (Docherty, J.) (citation

omitted).

       Under Federal Rule of Civil Procedure 33(b)(4), “[a]ll grounds for an objection to

an interrogatory shall be stated with specificity. Any ground not stated in a timely objection

is waived unless the court, for good cause, excuses the failure.” Fed. R. Civ. P. 33(b)(4);

see also Cargill, Inc. v. Ron Burge Trucking, Inc., 284 F.R.D. 421, 424 (D. Minn. 2012)

(applying Rule 33(b)(4) and finding objections waived when party made “no effort” to

respond to discovery and where “no indication that there was an excusable oversight.”).

Although Rule 34 does not contain an automatic waiver provision for untimely objections

as does Rule 33(b)(4), “courts have reasoned that Rule 33(b)(4) type waiver should be


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implied into all rules involving the use of the various discovery mechanisms.” Id. (quoting

Horace Mann Ins. Co. v. Nationwide Mut. Ins. Co., 238 F.R.D. 536, 538 (D. Conn. 2006).

       Federal Rule of Civil Procedure 36(a)(3) instructs that “a matter is admitted unless,

within 30 days after being served, the party to whom the request is directed serves on the

requesting party a written answer or objection addressed to the matter and signed by a party

or its attorney.” Fed. R. Civ. P. 36(a)(3).

                                       ARGUMENT

I.     Information Related to Defendants’ Defamatory Productions Is Relevant and
       Discoverable.

       Smartmatic served several interrogatories related to the mechanics of Defendants’

defamatory publications, including the financiers of the publications, and the amount of

money that Defendants spent to produce and publish them. This information is all relevant

to, among, other topics, Defendants’ actual malice. Accordingly, the Court should compel

Defendants to respond to Smartmatic’s interrogatories.

       A.     Defendants Have Waived Any Objections Smartmatic’s Final Set of
              Discovery Requests By Not Responding for Almost Ten Months.

       Smartmatic served its final set of discovery requests on September 20, 2023. (Loftus

Decl. Ex. S, Email from J. Bedell to Defendants’ Counsel.) Smartmatic gave Defendants’

new counsel months to respond.           After this Court formally re-opened discovery,

Smartmatic reminded Defendants of these outstanding requests and asked for Defendants’

responses. (Id. Ex. I.) Smartmatic followed up again on June 3, 2024. (Id. Ex. J; Id. ¶ 14.)

Finally, Smartmatic informed Defendants that Smartmatic would need to seek relief before

this Court on July 3, 2024. (Id. at Ex. S, Email from J. Loftus to C. Kachouroff.) At no


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point did Defendants request an extension from Smartmatic to respond to Smartmatic’s

discovery request. Defendants simply told Smartmatic they would provide responses—but

to date have failed to do so.

       While Smartmatic has attempted to give Defendants time to transition counsel, it

cannot wait indefinitely for responses to its discovery requests. This is especially true

where, as here, Defendants have continued to publicly impugn Smartmatic’s reputation

even during the course of this litigation. Given these considerations, this Court should find

that Defendants have waived their objections to Smartmatic’s Fifth Set of Requests for

Production and Smartmatic’s Fourth Set of Interrogatories. See Cargill, Inc. v. Ron Burge

Trucking, Inc., 284 F.R.D. 421, 423–24 (D. Minn. 2012). In Cargill, the Court struck the

responding party’s objections to a set of requests for production and interrogatories. The

Court noted that the objections were not lodged until after the requesting party filed its

motion to compel, which itself was after the party unsuccessfully attempted to resolve the

issue on its own after the deadline to respond had passed. Id. Here, Defendants have

similarly refused to produce responses, months after the deadline to do so passed, and

Smartmatic has had to bring a motion to compel without ever having seen Defendants’

potential objections. Defendants cannot show good cause for their delay. Defendants

accordingly must be compelled to produce all evidence sought by these requests.

       Similarly, Smartmatic’s First and Second Sets of Requests for Admission should be

deemed admitted pursuant to Rule 36(a)(3). Rule 36(a)(3) is clear that requests for

admission are deemed admitted unless the recipient responds within 30 days, and contains

no exception for good cause. Defendants have not responded for nearly 10 months. They


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are therefore in violation of the Federal Rules of Civil Procedure and should not be

rewarded with still more time.

       B.      MyPillow’s Financial Contributions To Lindell’s Disinformation
               Campaign Are Relevant And Discoverable (Interrogatory Nos. 20 & 23;
               RFP No. 26).

       In support of its claim that MyPillow is vicariously liable for the defamatory

statements of its CEO, Smartmatic served the following interrogatories seeking

information about the financial relationship between Lindell and MyPillow:

             Interrogatory No. 20: Identify and quantify all MY PILLOW financial
              resources or other monetary support provided by You for development,
              production, or publication of the ACCUSED PROGRAMS,
              DEFAMATORY BROADCASTS, the LINDELL APPEARANCES, the
              LINDELL WEBSITES, or the “March for Trump” tour and tour bus
              referenced in paragraph 76 of the Complaint. (Id. Ex. B, at 10.)

             Interrogatory No. 23: Identify any instance in which MY PILLOW has
              loaned money to LINDELL or cosigned an obligation of LINDELL. Your
              response should state: (a) the date of the loan or instrument; (b) the amount
              of money at issue; (c) whether there was a written loan agreement,
              promissory note, or similar document; (d) the date and amount of each
              payment that MY PILLOW made; (e) the interest rate, if any; and (f) the
              balance still owed by MY PILLOW, if any. There is no time limit to this
              Interrogatory. (Id.)

       MyPillow, however, refuses to identify its monetary contributions to Defendants’

defamatory activities. MyPillow similarly refuses to identify any loans to Lindell, or loans

from Lindell to MyPillow. Accordingly, the Court should compel MyPillow to provide

complete responses.

       The parties have gone back and forth on Interrogatory Nos. 20 and 23 numerous

times. In its original response to Interrogatory No. 20, MyPillow answered, in pertinent

part, “Defendant states that My Pillow contributed $100,000 to the March for Trump via


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wire dated December 4, 2020. Defendant further states that My Pillow loaned sums of

money to FrankSpeech.com.” (Loftus Decl. Ex. O, Defendant My Pillow, Inc.’s Fourth

Supplemental Answers and Objections to Plaintiffs’ Second Set of Interrogatories, at 6.)

Subsequently, MyPillow supplemented its response to Interrogatory No. 20: “As a

supplemental response to Interrogatory No. 20, My Pillow states that the $100,000.00 wire

referenced above was for advertising and not a contribution. The loan referenced was

included in error and the referenced loan did not occur. As a supplemental response, My

Pillow states that it has no information responsive to this Interrogatory at this time.” (Id.)

       During a meet and confer conference with Defendants’ new counsel, Smartmatic

pointed out that Defendants’ responses were contradictory. Smartmatic also identified that

Defendants had produced an invoice from OANN to MyPillow for the airing of Absolute

Proof, Defendants’ first defamatory documentary. Defendants’ supplemental answer

doubled down: “There were no contradictory answers and the previous answers to this

interrogatory are final [] complete.” (Id. Ex. P, Defendants’ Fifth Supplemental Responses

to Plaintiffs’ Discovery, at 5.) Defendants also demanded proof of the OANN invoice they

produced. (Id.)

       In its original response to Interrogatory No. 23, MyPillow objected on relevance and

overbreadth grounds. (Id. Ex. O, at 8.) In a supplemental answer, MyPillow stated: “Mr.

Lindell has frequently loaned money to My Pillow, Inc., and vice versa, but Mr. Lindell

has not used any funds loaned by My Pillow, Inc. to finance any enterprise relevant to the

claims brought by Plaintiffs. (Id.) Smartmatic met and conferred with new counsel for

Defendants and explained that these answers were facially deficient because they admit


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that loans occurred but fail to identify any such loan. (Id. Ex. D.) Defendants’ next

supplement only underscored Smartmatic’s point: “My Pillow and Mr. Lindell have loaned

money back and forth numerous times over the past 20 years. No formal loan documents

are created but accounting entries are documented for tax purposes. It is a typical small

business activity that occurs every day in America.” (Id. Ex. P, at 5.)

       Money conveyed between Lindell and MyPillow that financed the defamatory

statements is probative of whether Lindell acted within the course and scope of his

employment when he defamed Smartmatic. See Schneider v. Buckman, 433 N.W.2d 98,

101 (Minn. 1988) (under the “well-established principle” of respondeat superior, “an

employee is vicariously liable for the torts of an employee committed within the course

and scope of employment.”) (See also ECF No. 52, at 14 (“Lindell, the CEO of MyPillow,

intentionally promoted MyPillow while allegedly defaming Smartmatic in media and other

public appearances.”).) Monetary support flowing from MyPillow to Lindell—or Lindell’s

defamatory publications—supports Smartmatic claims that MyPillow is vicariously liable

for its CEO’s acts.

       MyPillow has refused to comply with Smartmatic’s relevant requests. First, in

response to Interrogatory No. 20, MyPillow has only provided contradictory answers about

a $100,000 wire and vague statements about a FrankSpeech loan that may or may not have

occurred. But whether MyPillow provided financing to the March for Trump Tour directly

or by purchasing advertising is irrelevant—both are responsive to Interrogatory No. 20.

The interrogatory seeks identification and quantification of MyPillow’s financial resources

or other monetary support it provided, and advertising constitutes monetary support.


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Second, in response to Interrogatory No. 23, MyPillow admits that MyPillow and Lindell

have loaned each other money, fails to identify any of the referenced loans, and admits that

relevant and responsive records exist. These responses are deficient. MyPillow should be

compelled to produce the relevant, responsive information requested—included the

“accounting entries” it admits exist.

       Furthermore, Smartmatic served the following RFP seeking documents in support

of its vicarious liability claim against MyPillow:

           RFP No. 26: MY PILLOW’S income statements, profit and loss statements,
             balance sheets, statements of cash flow, and statements of retained earnings
             of the past five (5) years. (Loftus Decl. Ex. C, at 10.)
       Defendants produced MyPillow’s balance sheet, profit and loss statements, a sales

by customer summary, and one page of a tax return from 2018 through 2021. (Id. ¶ 25.)

Defendants also produced a balance sheet and a profit and loss statement for 2022. (Id.)

Smartmatic requested all four documents for 2022 and 2023 pursuant to Rule 26(e)(1)(A)

of the Federal Rules of Civil Procedure, which instructs that “[a] party who has . . .

responded to a[] request for production . . . must supplement or correct its disclosure or

response . . . in a timely manner if the party learns that in some material respect the

disclosure or response to incomplete or incorrect.” Fed. R. Civ. P. 26(e)(1)(A). Smartmatic,

for its part, supplemented its financial records with a production of information pertaining

to fiscal year 2023 on May 16, 2023. ((Loftus Decl. Ex. Q.) Now that discovery is closing,

Smartmatic seeks a parallel update from MyPillow.




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       C.      Information Regarding Defendants’ Bases For Their Defamatory
               Statements Is Relevant And Discoverable (Interrogatory Nos. 4 & 14).

       In support of its claim that Defendants acted with actual malice, and in support of

their properly pleaded punitive damages claim, Smartmatic served the following

Interrogatories:

             Interrogatory No. 4: Identify all sources of information that YOU used for
              the ACCUSED PROGRAMS, DEFAMATORY BROADCASTS,
              DEFAMATORY STATEMENTS, or LINDELL APPEARANCES. For
              documents, list the Persons, including any LINDELL EMPLOYEES or MY
              PILLOW EMPLOYEES, OTHER NEWS ORGANIZATIONS, and Persons
              and Persons affiliated with YOU, who reviewed the documents, when he or
              she received and/or reviewed them, and describe the documents. For Persons
              interviewed or contacted, list their name, employer, title, and contact
              information, and describe their interaction with You, including the dates of
              any interview(s), the Person(s) affiliated with You who interviewed or
              contacted them, an the information they provided to You. For any other
              sources, describe the source and the information provided. (Id. Ex. A, at 11.)

             Interrogatory No. 14: If you contend that any of the DEFAMATORY
              STATEMENTS are true, substantially true, accurate, not misleading, and/or
              not defamatory, describe all facts and identify all documents that You claim
              support or establish that such statements are true, substantially true, accurate,
              not misleading, and/or defamatory. (Id. Ex. A, at 13.)

       In response to Interrogatory No. 4, Defendants provided a list of individuals and

sources they relied on in making defamatory statements. (Loftus Decl. Ex. R, Defendant

Michael J. Lindell Fourth Supplemental Answers and Objections to Plaintiffs’ First Set of

Interrogatories, at 11–18.) However, Defendants ignored the portions of the interrogatory

requesting identifying details about these sources, such as contact information, details

about the extent to which Defendants communicated with sources, and the information

provided by each source. (Id.) Particularly with respect to natural persons, this omission

deprives Smartmatic of critical information in assessing the credibility of Defendants’


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sources. After Smartmatic met and conferred with Defendants’ new counsel, Defendants

served new answers providing no new information. My Pillow answered, “My Pillow did

not make any defamatory statements. My Pillow’s prior answer is complete and final.” (Id.

Ex. P, at 2.) For his part, Lindell answered,

        “Mr. Lindell did not make any defamatory statements. To the best of his
        knowledge, Mr. Lindell has provided the documents that he can recall that
        he relied on. He reserves the right to supplement this list should he recall
        additional documents. Mr. Lindell does not have any contact information for
        individuals he interviewed or the dates he spoke with such people. The
        interviews would have occurred between November 2020 and the year 2023.
        Finally, Mr. Lindell objected to Interrogatory No. 4 as overbroad. Mr. Lindell
        stands on that objection because many if not all of the sources do not
        reasonably related to Smartmatic or its claims in any way whatsoever.

(Id.)
        In response to Interrogatory No. 14—seeking the basis for the defined term

“Defamatory Statements”—Defendants refused to answer, and they objected that questions

about the truth of Defendants’ statements are better suited for deposition testimony. (Id.

Ex. R, at 23–24.) Even after conferring with Defendants’ new counsel, Defendants still

refused to provide a substantive response to Interrogatory No. 14:

        MY PILLOW RESPONSE: My Pillow did not make any defamatory
        statements and its prior answer is complete and final.

        LINDELL’S RESPONSE: Mr. Lindell did not make any defamatory
        statements. Mr. Lindell has already and repeatedly identified, at a minimum,
        the documents and videos that he looked at in forming his conclusions in
        another interrogatory. Mr. Lindell would describe the majority of facts that
        he relies on to make statements as being complex and difficult to parse
        through in a compressed period of time. Indeed, he was compelled to hire
        experts in order to assist him in understanding them. He used his platforms
        to start an electronic version of the press to foster discussion about the
        machines and what they represent. He also conducted a symposium to bring
        experts together to discuss and engage in reasoned discourse about what
        happened in the November 2020 election. Over time, some of these opinions


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       may have changed. Most of the facts can also be described as decentralized
       in that they come from numerous sources and not a single source per se. Mr.
       Lindell’s answer to this interrogatory is complete and final.

(Id. Ex. P, at 3.)

       Details about Defendants’ sources are relevant to their actual malice, as

“recklessness may be found where there are obvious reasons to doubt the veracity of the

[defendant’s source] or the accuracy of the [defendant’s] reports.” St. Amant v. Thompson,

390 U.S. 727, 732 (1968); see also Mahnke v. Nw. Publ’ns, Inc., 160 N.W. 2d 1, 9 (Minn.

1968) (affirming verdict for plaintiff where defendant relied on source “in no position to

have the true facts in his possession.”). Without stating the information they gleaned from

different sources, Smartmatic is unable to assess the credibility of the information provided

to Defendants. Similarly, refusing to provide Smartmatic with the information about claims

they assert are true leaves Smartmatic unable to examine the reliability of Defendants’

theories.

       Defendants should not be permitted to hide the ball on their theories about Mr.

Lindell’s harmful statements about Smartmatic. At minimum, they should be ordered to

differentiate truth from lies, and explain where they got the information they

enthusiastically spread to audiences worldwide. Defendants should therefore be compelled

to fully detail the specific facts they received from each person they listed in response to

Interrogatory No. 4, with details about those communications, and to fully respond to

Interrogatory No. 14 as drafted.




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                                    CONCLUSION

      For the foregoing reasons, this Court should grant Smartmatic’s Motion. Defendants

should be compelled to fully and completely respond to Interrogatory Nos. 4, 14, 20, and

23, and to supplement its production to Request for Production No. 26. Defendants should

also be compelled: (i) to produce all documents requested in Smartmatic’s Fifth Set of

Requests for Production; and (ii) to respond to all interrogatories in Smartmatic’s Fourth

Set of Interrogatories. Finally, Smartmatic’s First and Second Sets of Requests for

Admission should be deemed admitted because Defendants failed to respond in a timely

manner.

Dated: July 9, 2024                          Respectfully submitted,

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